Case 1:20-cv-08924-CM Document1174 Filed 05/15/24 Pagelof4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

JARRETT PAYNE, ANDIE MALI, CAMILA GINI, VIDAL
GUZMAN, VIVIAN MATTHEW KING-YARDE,

CHARLIE MONLOUIS-ANDERLE, JAMES LAUREN, STIPULATION AND

MICAELA MARTINEZ, JULIAN PHILLIPS, NICHOLAS ORDER OF VOLUNTARY

MULDER and COLLEEN MCCORMACK-MAITLAND, DISMISSAL WITH
PREJUDICE PURSUANT

Plaintiffs, = [TO E.R.C.P. 41(a)(1)(A)Gi)

~against- 20CV08924 (CM) (GWG)

MAYOR BILL DE BLASIO, CHIEF OF DEPARTMENT
TERENCE MONAHAN, CITY OF NEW YORK,
COMMANDING OFFICER OF PATROL BOROUGH
BRONX, CHIEF KENNETH LEHR, SERGEANT MAJER
SALEH, OFFICER BRYAN 8S. ROZANSKI, OFFICER
JAKUB TARLECKI, SERGEANT KEITH CHENG,
OFFICER MATTHEW TARANGELO, OFFICER
STEPHANIE CHEN, OFFICER TAYLOR CORCORAN,
OFFICER MATTHEW L. PERRY, DETECTIVE DAMIAN

BCTRONICACLY FILED

RIVERA, OFFICER BRYAN PIZZIMENTI, OFFICER

JOSEPH DECK, LIEUTENANT MICHAEL BUTLER,
OFFICER AARON HUSBANDS, SERGEANT THOMAS E.
MANNING, OFFICERS JOHN DOE 1-26, OFFICER JANE
DOE 1, OFFICER DOE ESPOSITO and OFFICER
HENSLEY CARABALLO,

Defendants.
xX

WHEREAS, plaintiffs filed a Complaint on October 26, 2020, a First Amended
Complaint on March 5, 2021, and a Corrected Second Amended Complaint on April 25, 2023,

alleging that the defendants violated plaintiffs’ federal civil and state common law rights; and

WHEREAS, on July 10, 2023, defendant Majer Saleh filed a cross-claim against

defendant City of New York; and

Case 1:20-cv-08924-CM Document1174 Filed 05/15/24 Page2of4

WHEREAS, defendants City of New York, Mayor Bill De Blasio, Chief of
Department Terence Monahan, Commanding Officer of Patrol Borough Bronx, Chief Kenneth
Lehr, Officer Bryan Rozanski, Officer Jakub Tarlecki, Sergeant Keith Cheng, Officer Matthew
Tarangelo, Officer Stephanie Chen, Officer Taylor Corcoran, Officer Matthew Perry, Detective
Damian Rivera, Officer Bryan Pizzimenti, Officer Joseph Deck, Lieutenant Michael Butler,
Officer Aaron Husbands, Sergeant Thomas Manning, and Officer Hensley Caraballo have denied
any and all liability arising out of plaintiffs’ allegations; and

WHEREAS, defendant Sergeant Majer Saleh, who is represented by The Quinn
Law Firm, PLLC, has denied any and all liability arising out of plaintiffs’ allegations; and

WHEREAS, defendant City of New York denies any and all liability arising out
of defendant Majer Saleh’s cross-claims; and

WHEREAS, plaintiffs now seek to voluntarily withdraw and dismiss this action
against defendant Majer Saleh with prejudice;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and
between counsel for the parties herein, pursuant to Fed. R. Civ. 41 (a)(1)(A)(i0), as follows:

1. Any and all claims arising out of the events alleged in the Complaint, First
Amended Complaint, and Corrected Second Amended Complaint in this matter that were asserted |
ot could have been asserted by or on behalf of plaintiffs, against defendant Majer Saleh, are hereby
dismissed and discontinued with prejudice, and without costs, expenses, or attorneys’ fees to any
party as against the other.

2. Nothing contained herein shall be deemed to be an admission by any
defendant that they have in any manner or way violated plaintiffs’ rights, or the rights of any other

person or entity, as defined in the constitutions, statutes, ordinances, rules or regulations of the

Case 1:20-cv-08924-CM Document1174 Filed 05/15/24 Page 3of4

United States, the State of New York, or the City of New York or any other rules or regulations of
any department or subdivision of the City of New York. This Stipulation shall not be admissible
in, nor is it related to, any other litigation or settlement negotiations.

3. Nothing contained herein shall be deemed to constitute a policy or practice
of the City of New York or any agency thereof.

4, The parties understand and agree that this stipulation contains the entire
agreement between them as to the voluntary dismissal of defendant Sergeant Majer Saleh.

5, This Stipulation shall be binding upon the parties immediately upon

signature and shall be submitted to the Court for entry as an Order.

[REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]

Case 1:20-cv-08924-CM Document1174 Filed 05/15/24 Page4of4

Dated: New York, New York

May 8, 2024
NEW YORK CIVIL LIBERTIES UNION HON. SYLVIA O. HINDS-RADIX
FOUNDATION Corporation Counsel of the
Attorneys for Plaintiffs City of New York
125 Broad Street, 19th Floor Attorney for Defendants City of New York,
New York, New York 10004 De Blasio, Monahan, Lehr, Rozanski,
(212) 607-3300 Tarlecki, Cheng, Tarangelo, Chen,

Corcoran, Perry, Rivera, Pizzimenti,
Deck, Butler, Husbands, Manning, and
Caraballo

100 Church Street, 3" Flogr

By: Uh, Br. By:

Ca
Motly Kf Biklen Omar J. Siddiqi
Senior Counsel

The Quinn Law Firm, PLLC

ae aay Plaintif Attorneys for Defendant Majer Saleh
» 399 Knollwood Road, Suite 220
199 Water Street White Plains, New York 10603
New York, New York 10038 9 "4 9 97.055 ; ew Fors
(212) 577-3367 (914) 997-
By:
By: hea. Ut on Y
Philig Desérunges Marykate Acquisto
SO ORDERED:

[tlte. }, LL

HON. COLLEEN MCMAHON
UNITED STATES DISTRICT JUDGE

Dated: 0 ) “aon

